                       Case 21-01167-abl     Doc 140     Entered 10/24/22 14:27:23   Page 1 of 7


                  1    GARMAN TURNER GORDON LLP                    MICHAEL D. NAPOLI (Pro hac vice)
                       GERALD M. GORDON                            Email: michael.napoli@akerman.com
                  2    Nevada Bar No. 229                          AKERMAN LLP
                       E-mail: ggordon@gtg.legal                   2001 Ross Avenue, Suite 3600
                  3
                       JARED M. SECHRIST                           Dallas, Texas 75201
                  4    Nevada Bar No. 10439                        Tel: (214) 720-4360 / Fax: (214) 720-8116
                       E-mail: jsechrist@gtg.legal
                  5    7251 Amigo St., Suite 210                   ARIEL E. STERN
                       Las Vegas, Nevada 89119                     Nevada Bar No. 8276
                  6    Tel: (725) 777-3000 / Fax: (725) 777-3112   Email: ariel.stern@akerman.com
                                                                   AKERMAN LLP
                  7
                                                                   1635 Village Center Circle, Suite 200
                  8                                                Las Vegas, Nevada 89134
                                                                   Tel: (702) 634-5000 / Fax: (702) 380-8572
                  9    Attorneys for Tecumseh–Infinity Medical
                       Receivable Fund, LP
                10
                                         IN THE UNITED STATES BANKRUPTCY COURT
                11                             FOR THE DISTRICT OF NEVADA
                12     In re:
                13     INFINITY CAPITAL MANAGEMENT,                Case No.: 21-14486-abl
                       INC.,
                14                                                 Chapter 7
                                            Debtor.
                15

                16     HASELECT-MEDICAL RECEIVABLES
                       LITIGATION FINANCE FUND
                17     INTERNATIONAL SP,                           Adversary Case No.: 21-01167-abl
                18                          Plaintiff,
                19     v.
                                                                    SUPPLEMENTAL DECLARATION OF
                20     TECUMSEH–INFINITY MEDICAL                    MICHAEL BELOTZ IN SUPPORT OF
                       RECEIVABLES FUND, LP,                         MOTION FOR PARTIAL SUMMARY
                21                          Defendant.             JUDGMENT AS TO DIRECT PURCHASE
                                                                            RECEIVABLES
                22     TECUMSEH–INFINITY MEDICAL
                       RECEIVABLES FUND, LP,                       Hearing Date: October 25, 2022
                23
                                            Counter-Claimant,      Hearing Time: 1:30 p.m.
                24     v.
                25     HASELECT-MEDICAL RECEIVABLES
                       LITIGATION FINANCE FUND
                26
                       INTERNATIONAL SP,
                27                          Counter-Defendant.
                28
GARMAN TURNER GORDON
         LLP
  7251 Amigo Street
      Suite 210
 Las Vegas, NV 89119
    725-777-3000
                       Case 21-01167-abl           Doc 140      Entered 10/24/22 14:27:23            Page 2 of 7


                  1        HASELECT-MEDICAL RECEIVABLES
                           LITIGATION FINANCE FUND
                  2        INTERNATIONAL SP,
                  3                              Counter-Claimant,
                  4        v.
                           TECUMSEH–INFINITY MEDICAL
                  5
                           RECEIVABLES FUND, LP,
                  6                              Counter-Defendant.
                  7

                  8             I, MICHAEL BELOTZ, pursuant to 28 U.S.C. § 1746, declare as follows:

                  9             1.      My name is Michael Belotz. I am over the age of twenty-one years, of sound

                10     mind, and fully competent to testify in this cause.

                11              2.      I submit this supplemental declaration in support of the Motion for Partial

                12     Summary Judgment as to Direct Purchase Receivables (the “Motion”) of Tecumseh–Infinity

                13     Medical Receivable Fund, LP (“Tecumseh”), defendant and counterclaimant in the above-

                14     captioned adversary proceeding.

                15              3.      I am a principal of Tecumseh Alternatives, LLC, the advisor to Tecumseh. In that

                16     capacity, I have personal knowledge of the facts stated herein, all of which are true and correct.

                17     If called upon to testify regarding the contents of this Declaration, I could and would do so.

                18              4.      In my role as a principal of Tecumseh, I am responsible for all aspects of

                19     Tecumseh’s investments in medical receivables. Part of my duties require that I ensure the

                20     proper accounting and reporting of funds flowing to and from Tecumseh. In order to do so, I

                21     review and manage Tecumseh's banking records, financial records, contracts, and investments.

                22              5.      As it relates to Tecumseh, I was personally involved in the business between

                23     Debtor and Tecumseh, particularly as it relates to the purchase of receivables pursuant to a sub-

                24     advisory agreement entered with the Debtor on June 18, 2020, as modified by Addendum A on

                25     or about January 5, 2021 (the “Sub-Advisory Agreement”).1

                26
                       1
                27       A true and correct copy of the Sub-Advisory Agreement is attached to Tecumseh’s Statement of Undisputed Facts
                       in Support of Motion for Partial Summary Judgment as to Direct Purchase Receivables (the “Statement of
                28     Undisputed Facts”) as Exhibit B.

GARMAN TURNER GORDON
         LLP                                                                 2
  7251 Amigo Street
      Suite 210
 Las Vegas, NV 89119
    725-777-3000
                       Case 21-01167-abl       Doc 140     Entered 10/24/22 14:27:23          Page 3 of 7


                  1           6.     As part of my work coordinating with the Debtor, I had access to the Debtor’s

                  2    internal database that stored all receivables Debtor managed on behalf of Tecumseh. I regularly

                  3    reviewed the database in the course of my duties. I also had extensive contact with various

                  4    employees of the Debtor, including Oliver Hemmers (“Hemmers”). I also spoke regularly,

                  5    multiple times per week, with FTM Investments, Inc. (“FTM”), Tecumseh's and with the

                  6    Debtor’s employees about the receivables that Tecumseh owned. We also had frequent e-mail

                  7    exchanges. Generally, I would contact FTM before reaching out to the Debtor because

                  8    contractually FTM managed accounting on all Tecumseh receivables.

                  9           7.     To pay for the receivables that it intended to purchase, Tecumseh opened a bank

                10     account (whose account number ends in 8995) at Bank of America (the “BofA Account”) in July

                11     2020. This is the same account that I referred to in my earlier declaration (ECF No. 91). The

                12     BofA Account and all funds in it belong to Tecumseh. The account bears the title “Tecumseh-

                13     Infinity Medical Receivables Fund, LP,” which is Tecumseh’s legal name. That title is

                14     referenced on all of the bank statements and checks issued on the account.

                15            8.     The Debtor suggested that we associate its trade name, Infinity Health

                16     Connections, with the BofA Account. Hemmers explained that associating Debtor’s trade name

                17     with our account would make it easier to deposit checks from lawyers paying the receivables we

                18     intended to purchase. We informed the bank that the Debtor authorized us to accept deposits in

                19     the name of Infinity Health Connections into the BofA Account for the receivables that

                20     Tecumseh owned.

                21            9.     Tecumseh opened the account with a $350 counter deposit on July 16, 2020.

                22     Following July 2020, Tecumseh made deposits into the BofA account from its bank account

                23     (account number ending in 1991) at Wintrust Funds Group/Northbrook Bank & Trust (the

                24     “Northbrook Account”). The Northbrook Account is the account that Tecumseh uses to receive

                25     and hold investments from investors. The funds in the Northbrook account are almost

                26     exclusively from investors. None of the funds in that account were the proceeds of any

                27     receivable acquired with the assistance of the Debtor, including both the Disputed Receivables

                28     and the Direct Purchase Receivables (both as defined in the Motion).
GARMAN TURNER GORDON
         LLP                                                          3
  7251 Amigo Street
      Suite 210
 Las Vegas, NV 89119
    725-777-3000
                       Case 21-01167-abl             Doc 140       Entered 10/24/22 14:27:23            Page 4 of 7


                  1               10.     As part of the process by which Tecumseh purchased receivables and paid for

                  2    them using the BofA account, the Debtor informed us in advance of the general quantity of

                  3    receivables it had identified for Tecumseh to purchase over the next several weeks. Based on that

                  4    estimate, Tecumseh would deposit funds as needed to pay for the receivables. From October

                  5    2020 through September 2021, Tecumseh deposited an average of $308,950 per month. For that

                  6    same period, we paid an average of $290,385 to medical providers to purchase receivables.

                  7               11.     I and people working under my supervision traced all of the deposits and

                  8    withdrawals in the BofA Account. Our Tracing Analysis is attached to Tecumseh’s

                  9    Supplemental Statement of Undisputed Facts (“Supp. SOUF”) as Exhibit O.

                10                12.     To determine the source of the deposits in the BofA Account, we reviewed all of

                11     the account statements for that account through September 2021. Deposits by Tecumseh are

                12     identified on the account statements with the following language: “ORIG:TECUMSEH

                13     INFINITY MEDICAL ID:8704901991 SND BK:NORTHBROOK BANK & TRUST COMPA.”

                14     We determined that Tecumseh deposited $3,707,401.26 in investor funds into the BofA account.

                15     Copies of the BofA Account statements showing all withdrawals and deposits are attached to

                16     Supp. SOUF as Exhibit M.2 They are identified on the Tracing Analysis as “Tecumseh

                17     Deposits.”

                18                13.     To confirm that these deposits reflected investor funds, we reviewed the

                19     Northbrook Account. I reviewed all of the statements for the Northbrook Account from June

                20     2020 through September 2021. For each month in which in which Tecumseh deposited funds

                21     into the BofA Account from the Northbrook Account, I confirmed that there were sufficient

                22     investor deposits in the Northbrook Account to cover the deposit to the BofA Account. Copies of

                23     the Northbrook Account statements are attached to Supp. SOUF as Exhibit N.3

                24                14.     We identified $696,747.31 of deposits that relate to payments received for

                25     receivables purchased by Tecumseh. To insure that we did not understate the funds related to

                26     2
                         We redacted the account number and any patient names appearing on the statements. In addition, all of the checks
                       drawn on the BofA account were previously attached to Tecumseh’s Statement of Undisputed Facts and will not be
                27     resubmitted.
                       3
                28         We redacted the account number and any investor names appearing on the statements.

GARMAN TURNER GORDON
         LLP                                                                    4
  7251 Amigo Street
      Suite 210
 Las Vegas, NV 89119
    725-777-3000
                       Case 21-01167-abl       Doc 140     Entered 10/24/22 14:27:23        Page 5 of 7


                  1    payments received on receivables, we credited all deposits that we could not positively identify

                  2    as either a deposit by Tecumseh or a returned item or the like as a receivable deposit. These are

                  3    shown on the Tracing Analysis as “Receivables.” Note that for August 2021, $80,564.35 was

                  4    deposited but $32,380.80 was reversed by the bank for a net of $48,183.55. The $32,380.80 item

                  5    was deposited on August 26, 2021 and charged back by the bank on August 27, 2021.

                  6           15.    We also identified $139,403.56 as “Other Deposits.” These are a $60 wire transfer

                  7    fee refund on December 14, 2020, a $59,047.97 return of posted check 1691 on March 4, 2021, a

                  8    $78,000 returned wire from Stat Diagnostics on March 24, 2021 and a $2,295.59 returned item in

                  9    June 2021.

                10            16.    The withdrawals for payments to medical service providers to purchase

                11     receivables are set out in the Reconciliation that is attached to Tecumseh’s Statement of

                12     Undisputed Facts as Exhibit F. The Reconciliation shows that Tecumseh paid $3,185,582.35

                13     directly to medical service providers from the BofA Account. Our separate review of the bank

                14     statements confirms that at least that much was distributed from the BofA Account to medical

                15     providers. These payments are identified as “Provider Payments” in the Tracing Analysis. The

                16     monthly totals in the Reconciliation and the Tracing Analysis do not correspond because the

                17     Reconciliation is based on the date checks were written and the Tracing Analysis is based on the

                18     date checks cleared. In addition, the total amount in the Tracing Analysis is higher

                19     ($3,484,619.03) due to returned items such as the two items totaling $137,047.97 in March 2021

                20     discussed above and because Tecumseh bought receivables not brokered by the Debtor in

                21     September 2021 following the petition date using the BofA Account.

                22            17.    Tecumseh also paid the Debtor’s fee out of the BofA Account. It paid

                23     $723,072.79 to the Debtor in fees and expense reimbursements. The payments are identified as

                24     “Infinity Fees” in the Tracing Analysis. In addition, Tecumseh distributed $55,580.80 to the

                25     Debtor in October 2020 (Check 1001, dated 9/30/2020 cleared 10/1/2020) to enable the Debtor

                26     to purchase the Batch 1-G receivables, which are part of the Disputed Receivables, on

                27     Tecumseh’s behalf.

                28     ///
GARMAN TURNER GORDON
         LLP                                                          5
  7251 Amigo Street
      Suite 210
 Las Vegas, NV 89119
    725-777-3000
                       Case 21-01167-abl           Doc 140       Entered 10/24/22 14:27:23        Page 6 of 7


                  1             18.    The total Tecumseh Deposits into the BofA Account ($3,707,401.26) exceed the

                  2    amount that Tecumseh paid for the Direct Purchase Receivables ($3,185,582.35) by more than

                  3    $521,000. The flow of funds from Tecumseh Deposits and Provider Payments shows that the

                  4    Tecumseh Deposits were used to pay the Provider Payments. On October 1, 2020, the BofA

                  5    account had a balance of $56,175.06. On that day, check 1001 in the amount of $55,580.80 for

                  6    Batch 1-G of the Disputed Receivables cleared leaving a balance of less than $1,000. On October

                  7    29, 2020, Tecumseh deposited $200,000 and wired $142,862.63 to medical providers South

                  8    Atlanta MUA, Stat Diagnostics and Preva. The only possible source of payment for these

                  9    receivables was Tecumseh’s $200,000 deposit. From then on Tecumseh Deposits exceeded

                10     Provider Payments by a wide margin. From July 2020 through September 2021, cumulative

                11     Tecumseh Deposits were higher than cumulative Provider Payments in each month as shown

                12     below.

                13
                                                Cumulative            Cumulative Provider
                14
                                             Tecumseh Deposits            Payments                  Difference
                15                  Jul‐20    $         350.00    $                     ‐     $                350.00
                                  Aug‐20      $         350.00    $                     ‐     $                350.00
                16                Sep‐20      $         350.00    $                     ‐     $                350.00
                17                Oct‐20      $     400,350.00    $              143,269.01   $            257,080.99
                                  Nov‐20      $     400,350.00    $              271,866.95   $            128,483.05
                18                Dec‐20      $     800,350.00    $              529,150.63   $            271,199.37
                                   Jan‐21     $   1,300,350.00    $              830,245.60   $            470,104.40
                19
                                  Feb‐21      $   1,300,350.00    $            1,067,187.31   $            233,162.69
                20                Mar‐21      $   1,592,653.50    $            1,506,191.97   $             86,461.53
                                  Apr‐21      $   1,962,785.20    $            1,855,632.65   $            107,152.55
                21                May‐21      $   2,447,365.18    $            2,214,705.14   $            232,660.04
                22                Jun‐21      $   2,860,043.95    $            2,767,335.39   $             92,708.56
                                    Jul‐21    $   3,191,470.48    $            2,979,537.16   $            211,933.32
                23                Aug‐21      $   3,417,561.32    $            3,204,879.42   $            212,681.90
                                  Sep‐21      $   3,707,401.26    $            3,484,619.03   $            222,782.23
                24

                25              19.    Also, the total payments related to Receivables ($696,747.31) was less than the
                26     amount paid to the Debtor for fees ($723,072.79). The margin is even greater when the
                27     $55,580.80 for the Batch 1-G receivables is included.
                28     ///
GARMAN TURNER GORDON
         LLP                                                                 6
  7251 Amigo Street
      Suite 210
 Las Vegas, NV 89119
    725-777-3000
     Case 21-01167-abl         Doc 140     Entered 10/24/22 14:27:23       Page 7 of 7


 1
              I declare under penalty of perjury under the laws of the United States of America that the
 2
     foregoing is true and correct.
 3
                             21 2022.
              Dated October ___,
 4

 5                                                     MICHAEL BELOTZ
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                      7
     66922748;1
